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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION
                                   (at London)

CASE NO. 17-CR-00053-GFVT                                     ELECTRONICALLY FILED

UNITED STATES OF AMERICA,                                              PLAINTIFF,



VS.                    REPLY TO UNITED STATES’ RESPONSE
                            TO MOTION TO CONTINUE



WERNER GRENTZ,                                                         DEFENDANT.

                                           ** ** **

       Comes now the Defendant, Werner Grentz, and for his Reply to the United States’

Response to Motion to Continue, states that the penultimate paragraph of the

government’s Response identifies exactly why the requested continuance is required. A

case may be complex for reasons other than those set out in the government’s Response.

Here, the Defendant has raised many questions, some of which, no doubt, involve issues

that cannot be raised during the trial. The Defendant is entitled, however, to sufficient

time for his attorney to address every reasonable question he has regarding his case.

       The Motion to Continue was not filed for purposes of delay. Counsel is confident

that the additional thirty days will be sufficient to address Mr. Grentz’s concerns.
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                                                Respectfully Submitted,

                                                s/David S. Hoskins
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                                                WERNER GRENTZ

                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 22nd day of January, 2018, the foregoing was

filed electronically with the Clerk of the Court by using CM/ECF System which will send

notice of filing to all counsel of record.

                                                s/David S. Hoskins
                                                COUNSEL FOR DEFENDANT
                                                WERNER GRENTZ
